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                                  ICE Director Saldaña and I understand the sensitive and unique nature of detaining families, and we are committed to continually evaluating
  Multimedia                      it. We have concluded that we must make substantial changes to our detention practices when it comes to families.

  National Terrorism
  Advisory System                 Last summer we faced an unprecedented spike in illegal migration from Central America. A substantial part of that migration was adults who
                                  brought their children with them. In order to avoid a situation, after apprehension, in which we simply processed these individuals, escorted
  Press Releases
                                  them to bus stations and released them, we increased our detention capacity.
  Comunicados de
  Prensa                          We took a number of other steps in response to last summer’s spike, working with our government counterparts in Mexico and Central

  Publications                    America. This year the number of those apprehended at our southern border – an indicator of total attempts to cross the border illegally –
                                  while still high, is down considerably from before. Indeed, if the current trend this fiscal year continues, the annual number of total
  Social Media                    apprehensions at our southern border will be the lowest since the 1970s.
  Speeches
                                  We continue to be vigilant in watching for any upswings in this migration pattern, and we know we must be prepared to respond in that
  Testimony
                                  event. We have also increased our capacity to focus our enforcement resources effectively on those who have recently crossed the border
  Publications Library            illegally, and on those who represent threats to public safety.


                                  I and other DHS officials have conducted numerous visits to family residential centers. I personally visited the Karnes, Texas facility on
                                  Monday of last week. While there, I inspected the facility, the lodging, the dining area and the classrooms for children, and spoke directly and
                                  privately with the health providers. Most significant, I spoke with dozens of Central American mothers at the facility who came to this country
                                  illegally seeking a better life for their children and themselves.


                                  I have reached the conclusion that we must make substantial changes in our detention practices with respect to families with children. In
                                  short, once a family has established eligibility for asylum or other relief under our laws, long-term detention is an inefficient use of our
                                  resources and should be discontinued.


                                  In May, ICE announced a first round of reforms which we have already begun to implement; they include:


                                  First, we have begun reviewing the cases of any families detained beyond 90 days to evaluate whether detention during the pendency of
                                  their immigration case is still appropriate. Priority is being given to the review of the cases of families who have been in these residential
                                  centers the longest.


                                  Second, we have discontinued invoking general deterrence as a factor in custody determinations in all cases involving families.


                                  Third, we are appointing a Federal Advisory Committee of outside experts to advise Director Saldaña and me concerning family residential
                                  centers.


                                  Fourth, we are undertaking additional measures to ensure access to counsel, attorney-client meeting rooms, social workers, educational
                                  services, comprehensive medical care, and continuous monitoring of the overall conditions at these centers.


                                  Today we are announcing additional important reforms. In the last few days, Director Saldaña and her senior immigration enforcement team
                                  have presented me with a plan to offer release with an appropriate monetary bond or other condition of release to families at residential
                                  centers who are successful in stating a case of credible or reasonable fear of persecution in their home countries. Further, Director Saldaña
                                  has also presented me with criteria for establishing a family's bond amount at a level that is reasonable and realistic, taking into account
                                  ability to pay, while also encompassing risk of flight and public safety. I have accepted and approved this plan.


                                  Additionally, I am directing that USCIS conduct credible fear and reasonable fear interviews within a reasonable timeframe. In substance –
                                  the detention of families will be short-term in most cases. During that time, we will have the opportunity to confirm accurate address and
                                  sponsor information so that ICE can more effectively monitor and ensure compliance with immigration obligations. During that time, families
                                  will also receive education about their rights and responsibilities, including attendance at immigration court hearings and other reporting
                                  requirements.




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                   Finally, continued use of family residential centers will allow for prompt removal of individuals who have not stated a claim for relief under our
                   laws.


                   Our larger hope is that Central American families will heed our repeated calls to find a safe and lawful path for the migration of children to the
                   United States. Late last year, we established in-country refugee processing in Guatemala, El Salvador and Honduras, for the children of
                   those lawfully present in the United States. We continue to encourage families to take advantage of that program. I have personally seen
                   enough to know that the path of illegal migration from Central America to our southern border is a dangerous path and it is not for children.


                   We also urge Congress to grant President Obama's $1 billion request for aid to Central America, to finally and firmly address the underlying
                   causes of illegal migration in Guatemala, Honduras and El Salvador – the so-called "push factors."


                   Border security continues to be one of my top priorities as Secretary of Homeland Security. As I have said before, our borders are not open
                   to illegal migration. I know also that we must enforce our immigration laws in a fair and humane manner, consistent with our values as
                   Americans.


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